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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 DAVID JANSSEN, Derivatively on Behalf of Nominal
 Defendant CAMPING WORLD HOLDINGS, INC.,

                      Plaintiff,

          v.                                        Case No. 1:19-cv-01467-MN

 MARCUS A. LEMONIS, THOMAS F. WOLFE,                JURY TRIAL DEMANDED
 BRENT L. MOODY, STEPHEN ADAMS, ANDRIS
 A. BALTINS, BRIAN P. CASSIDY, MARY
 GEORGE, HOWARD A. KOSICK, MICHAEL W.
 MALONE, JEFFREY A. MARCUS, K. KILLON
 SCHICKLI, CRESTVIEW PARTNERS II GP, L.P.,
 and CRESTVIEW ADVISORS, L.L.C.,

                      Defendants,

 and

 CAMPING WORLD HOLDINGS, INC.,

                      Nominal Defendant.



(Caption continued on following page)




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 JUDITH SANDLER, Derivatively on Behalf of
 Nominal Defendant CAMPING WORLD HOLDINGS,
 INC.,

                   Plaintiff,

          v.                                      Case No. 1:19-cv-01468-MN

 MARCUS A. LEMONIS, THOMAS F. WOLFE,              JURY TRIAL DEMANDED
 BRENT L. MOODY, STEPHEN ADAMS, ANDRIS
 A. BALTINS, BRIAN P. CASSIDY, MARY
 GEORGE, HOWARD A. KOSICK, MICHAEL W.
 MALONE, JEFFREY A. MARCUS, K. KILLON
 SCHICKLI, CRESTVIEW PARTNERS II GP, L.P.,
 and CRESTVIEW ADVISORS, L.L.C.,

                   Defendants,

 and

 CAMPING WORLD HOLDINGS, INC.,

                   Nominal Defendant.




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      JOINT STIPULATION AND [PROPOSED] ORDER STAYING THE ACTION
      PENDING RESOLUTION IN THE RELATED SECURITIES CLASS ACTION

       WHEREAS, on August 6, 2019, David Janssen (“Janssen”) filed a Verified Shareholder

Derivative Complaint (the “Janssen Action”) in this Court against certain directors and officers of

Camping World Holdings, Inc. (the “Company” and with the defendant officers and directors, the

“Defendants”);

       WHEREAS, on August 6, 2019, Judith Sandler (“Sandler”) filed a Verified Shareholder

Derivative Complaint (the “Sandler Action” and with the “Janssen Action,” the “Derivative

Actions”) against certain directors and officers of Camping World;

       WHEREAS, Janssen and Sandler (collectively, “Plaintiffs”), and their counsel agree that

consolidation of the Derivative Actions is appropriate to ensure that the actions are prosecuted

effectively and efficiently;

       WHEREAS, the Derivative Actions involve identical subject matter, parties, factual

allegations, and legal issues, and the administration of justice would be best served by

consolidating the actions filed by Plaintiffs;

       WHEREAS, on October 19, 2018, a plaintiff, suing on behalf of a purported class, filed a

lawsuit in the United States District Court for the Northern District of Illinois captioned Ronge v.

Camping World Holdings, Inc., et al., No. 1:18-cv-07030 (the “Federal Securities Class Action”),

alleging violations of the federal securities laws against Camping World and certain of its officers

and directors (among other defendants), and the Federal Securities Class Action remains pending;

       WHEREAS, the parties agree that Derivative Actions involve the same subject matter,

parties, factual allegations, and legal issues as the Federal Securities Class Action (which also

includes additional factual and legal issues and defendants);




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       WHEREAS, the Derivative Actions seek, among other things, contribution from

Defendants for any damages awarded in the Federal Securities Class Action;

       WHEREAS, Plaintiffs agree that the interests of preserving the parties’ and the Court’s

resources, efficient and effective case management would best be served by staying the Derivative

Actions until the court enters an order resolving defendants' motions to dismiss the Federal

Securities Class Action but wish to reserve their rights to seek a stay beyond that point;

       NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the undersigned

counsel for the parties (the “Parties”), subject to the approval of the Court, as follows:

       1.      The Derivative Actions shall be consolidated for all purposes, and are referred to

herein as the “Consolidated Action.”

       2.      Hereafter, papers need only be filed in Civil Action No. 1:19-cv-01467-MN.

       3.      Every pleading filed in this Consolidated Action shall bear the following caption:

                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

       IN RE CAMPING WORLD                                  Case No. 1:19-cv-01467-MN
       HOLDINGS, INC. STOCKHOLDER                           CONSOLIDATED
       DERIVATIVE LITIGATION                                JURY TRIAL DEMANDED

       4.      The law firm of LIFSHITZ & MILLER LLP, 821 Franklin Ave, Garden City, NY

11559 shall serve as Plaintiffs' Lead Counsel for the Consolidated Action. Defendants take no

position on the appointment of Plaintiffs' Lead Counsel.

       5.      The law firm of O’KELLY ERNST & JOYCE, LLC, 901 N. Market Street, Suite

1000, Wilmington, DE 19801 shall serve as Plaintiffs' Delaware Counsel. Defendants take no

position on the appointment of Plaintiffs' Delaware Counsel.

       6.      All documents previously filed to date in any of the cases consolidated herein are

deemed part of the record in the Consolidated Action.


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        7.      Plaintiffs' Lead Counsel, in consultation with Plaintiffs' Delaware Counsel, shall

set policy for Plaintiffs for the prosecution of this litigation, ensure that there is no duplication of

effort or unnecessary expense, coordinate on behalf of Plaintiffs the initiation and conduct of

discovery proceedings, provide direction, supervision, and coordination of all activities of

Plaintiffs' counsel, and have the authority to negotiate a settlement, subject to approval of Plaintiffs

and the Court. Any agreement reached between counsel for Defendants and Plaintiffs' Lead

Counsel and/or Plaintiffs' Delaware Counsel shall be binding on the other Plaintiffs.

        8.      Plaintiffs' Lead Counsel, in consultation with Plaintiffs' Delaware Counsel, shall

assume the following powers and responsibilities: (a) coordinate and direct the preparation of

pleadings; (b) coordinate and direct the briefing and argument of motions; (c) coordinate and direct

the conduct of discovery and other pretrial proceedings; (d) coordinate the selection of counsel to

act as Plaintiffs' spokesperson at pretrial conferences; (e) call meetings of Plaintiffs' counsel as

they deem necessary and appropriate from time to time; (f) conduct any and all settlement

negotiations with counsel for Defendants; (g) coordinate and direct the preparation for trial and

trial of the Consolidated Action, and delegate work responsibilities to selected counsel as may be

required; and (h) coordinate and direct any other matters concerning the prosecution or resolution

of the Consolidated Action.

        9.      Plaintiffs' Delaware Counsel shall also be responsible for coordinating all activities

and appearances on behalf of Plaintiffs and for the dissemination of notices and orders of this

Court, as well as for communications to and from this Court. No motion, request for discovery, or

other pretrial or trial proceedings shall be initiated or filed by any Plaintiff except through

Plaintiffs' Delaware Counsel.




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       10.     This Order shall apply to this Consolidated Action and any future filed actions

relating to the subject matter of this case. When a case that properly belongs as part of the

Consolidated Action is hereafter filed in the Court, this Court requests the assistance of counsel in

calling to the attention of the Court the filing of any case which might properly be consolidated as

part of the Consolidated Action, and counsel are to assist in assuring that counsel in subsequent

actions receive notice of this Order.

       11.     The Consolidated Action, including all hearings and deadlines, shall be stayed

pending the resolution of the motions to dismiss in the Federal Securities Class Action or until

otherwise agreed to by the parties. Within thirty (30) days of the ruling on defendants' motions to

dismiss the Federal Securities Class Action, the parties shall meet and confer concerning a

schedule for further proceedings in the Consolidated Action, including whether a further stay of

this action is appropriate, and advise the Court accordingly. If the parties are unable to agree on

whether a continued stay of this action is appropriate, the parties will submit a schedule for briefing

on a motion to continue the stay. This action shall remain stayed until the parties agree that a stay

is no longer warranted or the Court's ruling on a motion to continue the stay.

       12.     The stay of this action is subject to each party's right (i) to move the Court to lift

the stay and (ii) to oppose such motions. Prior to any such motion to lift, the party seeking to lift

the stay shall give notice of at least forty-five calendar days, during which times the parties will

meet and confer in an effort to resolve any dispute about the continuance of the stay.

       13.     Plaintiffs may file a verified consolidated complaint while this case is stayed.

       14.     Defendants shall be under no obligation to respond to the complaint, or any

consolidated complaint, while the Consolidated Action is stayed.




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        15.     Nothing herein shall be construed as a waiver of any party’s rights or positions in

law or in equity, or as a waiver of any defenses that any party would otherwise have, and the parties

reserve all such rights.

        SO STIPULATED AND AGREED by and between the parties this 24th day of September,

2019.

 Of Counsel:                                         O’KELLY ERNST & JOYCE, LLC
                                                     /s/ Ryan M. Ernst
 LIFSHITZ & MILLER LLP                               Ryan M. Ernst, Esq. (#4788)
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 Of Counsel:                                         RICHARDS, LAYTON & FINGER, P.A.
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 Suite 2800                                          Dillion Schickli, Brent L. Moody, Thomas F.
 Chicago, IL 60611                                   Wolfe, Camping World Holdings, Inc.,
 Telephone: (312) 876-7700                           Crestview Partners II G.P., L.P. and
 Facsimile: (312) 993-9767                           Crestview Advisors, L.L.C.


                           SO ORDERED, this _____ day of _________, 2019.

                                                     ___________________________
                                                     United State District Court Judge



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